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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GARY NEUPAUER, JR. and
JEAN NEUPAUER, his wife,

                          Plaintiffs              3:15-CV-01903
      v.                                         (JUDGE MARIANI)

UNITED STATES OF AMERICA,                        JUDGMENT IN A CIVIL CASE
DEPARTMENT OF VETERAN
AFFAIRS, et al.,

                  Defendants

           Jury Verdict

 XX        Decision by the Court


           AND NOW, THIS 11TH DAY OF DECEMBER, 2017, for the reasons set forth in the

accompanying memorandum opinion, IT IS HEREBY ORDERED THAT Judgment is entered IN

FAVOR OF Plaintiffs Gary Neupauer, Jr. and Jean Neupauer and AGAINST Defendant United States

of America in the amount of $796,644.00, as follows:

   1. Gary Neupauer's Future Medical Expenses: $10,000.00;

   2. Gary Neupauer's Past Lost Earnings: $146,417.00;

   3. Gary Neupauer's Future Lost Earnings: $15,227.00;

   4. Gary Neupauer's Past, Present, and Future Pain and Suffering, Embarrassment and
      Humiliation, and Loss of Ability to Enjoy the Pleasures of Life: $ 400,000.00;

   5. Gary Neupauer's Disfigurement: $175,000.00;

   6. Jean Neupauer's Loss of Consortium - $50,000.00.
